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                        UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


 VICTOR ARIZA,

                    Plaintiff,

 v.                                             Case No. 6:22-cv-1953-ACC-EJK

 WORLD MARKET OF FLORIDA,
 LLC,

                    Defendant.


                             ORDER OF DISMISSAL

       The Court has been advised by counsel for both parties that the above-styled

 action has been settled. Accordingly, pursuant to Local Rule 3.09(b) M.D.Fla., it is

       ORDERED AND ADJUDGED that this cause is hereby DISMISSED

 without prejudice and subject to the right of the parties, within twenty (20) days of

 the date of this order, to submit a stipulated form of final order or judgment should

 they so choose or for any party to move to reopen the action, upon good cause

 shown. After that 20-day period, however, dismissal shall be with prejudice. Any

 pending motions are denied as moot and the Clerk is directed to close the file.

       DONE and ORDERED at Orlando, Florida on December 20, 2022.
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 Counsel of Record




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